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                IN THE UNITED STATES DISTRICT COURT
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                     FOR THE DISTRICT OF MONTANA ?AT"ICi\ E. DUFFY, CLERK
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                           GREAT FALLS DIVISION                          DePUTY CLERK

 UNITED STATES OF AMERICA,

                           Plaintiff,             No. CR 11-1O-GF-SEH

 vs.                                              ACCEPTANCE OF PLEA OF
                                                  GUlLTY, ADJUDICATION OF
 ANTHONY AARON                                    GUlLT AND NOTICE OF
 MAZA WASICUNA,                                   SENTENCING

                           Defendant.

       In accordance with the Findings and Recommendations of the United States

Magistrate Judge Keith Strong, to which there has been no objection, and subject

to this Court's consideration of the Plea Agreement under Fed. R. Crim. P.

11(c)(3), the plea of guilty of the Defendant to Count I of the Indictment is hereby

accepted. The Defendant is adjudged guilty of such offense. All parties shall

appear before this Court for sentencing as directed.

       IT IS SO ORDERED this       22~y of May, 2010.

                                        United States District Judge

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